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                       IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 § CASE NUMBER 9:17-CR-00016-3-RC
v.                                               §
                                                 §
                                                 §
TOMMY HOLLINGSWORTH                              §
                                                 §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty pleas. He further recommended that the court adjudge

the Defendant guilty on Count Six and Seven of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s pleas but defers acceptance of the plea

agreement until after review of the presentence report. The court ORDERS the Defendant’s

attorney to read and discuss the presentence report with the Defendant, and file any objections to

the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty pleas and the

magistrate judge’s findings and recommendation, the Defendant, Tommy Hollingsworth, is

adjudged guilty as to Count Six and Seven of the Indictment charging a violation of 21 U.S.C. §

841(a)(1) - Possession with the Intent to Distribute or Dispense (Methamphetamine) and 18

U.S.C. § 924(c) (Possession of a Firearm in Furtherance of a Drug Trafficking Crime).

     So Ordered and Signed
     Aug 15, 2017
